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NVB 5075 (Rev. 1/19)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                          BK−09−29123−mkn
                                                                 CHAPTER 11
 MELANI SCHULTE

 WILLIAM SCHULTE
                                                                 NOTICE OF DOCKETING
                                    Debtor(s)                    ERROR




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:                 1362 − Reply to PHH Opposition to Debtors Motion for Contempt
                                                for Violation of the Automatic Stay and Discharge Injunction,
                                                Failing to Comply with a Court Order and the Confirmed Plan and
                                                for Damages Including Attorneys Fees Against Creditors,
                                                Shellpoint Mortgage Servicing and Ocwen Loan Servicing, LLC
                                                with Certificate of Service Filed by CHRISTOPHER PATRICK
                                                BURKE on behalf of MELANI SCHULTE (Related
                                                document(s)1357 Opposition filed by Creditor PHH MORTGAGE
                                                CORPORATION, SUCCESSOR TO OCWEN LOAN
                                                SERVICING, LLC.) (BURKE, CHRISTOPHER)
           Filed On:                            6/7/21
           With A Hearing Date Of:              6/9/21
           And A Hearing Time Of:               9:30 AM

The reason(s) for the required correction(s) is as follows:

   *      PDF has an incorrect case caption. Please refer to the Local Rules and file an amended pleading or file it
          in the correct case immediately. The following caption item(s) are incorrect/missing:
          *     The Case Caption does not match the docket sheet exactly. The case caption must include all
                parties including terminated parties.




Dated: 6/8/21


                                                              Mary A. Schott
                                                              Clerk of Court



           For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
